          Case TXE/4:20-cv-00957 Document 55 Filed 08/04/21 Page 1 of 2




                BEFORE THE UNITED STATES JUDICIAL PANEL
                       ON MULTIDISTRICT LITIGATION
 ____________________________________________________________________________
IN RE: DIGITAL ADVERTISING                            MDL No. 3010
ANTITRUST LITIGATION
_____________________________________________________________________________

 PLAINTIFF STATE OF TEXAS SUPPLEMENTAL INFORMATION TO THE PANEL
   CONCERNING GOOGLE’S MOTION FOR TRANSFER OF ACTIONS TO THE
                 NORTHERN DISTRICT OF CALIFORNIA

       Pursuant to Panel Rule 6.1(f), counsel for Plaintiff State of Texas provides notice of

supplemental information relevant to Google’s pending motion. On July 23, 2021, the court in

Texas v. Google, Civil No. 4:20-CV-957-SDJ (E.D. Tex.) ordered the filing of an amended

complaint in connection with Louisiana’s and South Carolina’s motion to intervene in Texas v.

Google. Exhibit A. Today, Louisiana and South Carolina have supplemented their motions to

intervene with the required amended complaint, filing it in conjunction with the Plaintiff States,

which have moved for leave to file the amended complaint. Exhibit B. The complaint not only

adds Louisiana’s and South Carolina’s state-specific claims, but also eliminates all Plaintiffs’

claims for federal antitrust damages under Section 4C of the Clayton Act, 15 U.S.C. § 15c.

Exhibit C. This amended complaint moots Google’s motion in the current action to consolidate

and transfer Texas v. Google for trial under 28 U.S.C. § 1407(h) (“[T]he judicial panel on

multidistrict litigation may consolidate and transfer with or without the consent of the parties, for

both pretrial purposes and for trial, any action brought under section 4C of the Clayton Act.”). It

also eliminates all common questions relating to the apportionment of federal antitrust damages

between the Plaintiff States and private parties.
Case TXE/4:20-cv-00957 Document 55 Filed 08/04/21 Page 2 of 2




                           Respectfully submitted,

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